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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

DARRYL BROWN,               )
                            )
         Plaintiff,         )
                            )
vs.                         )                        Case No. 4:22-cv-00117-CDL
                            )
CENTRAL OF GEORGIA RAILROAD )
COMPANY; NORFOLK SOUTHERN )
RAILWAY COMPANY; NORFOLK    )
SOUTHERN CORPORATION.       )
                            )
         Defendants.        )

    PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS IN
                               LIMINE

       COMES NOW Plaintiff Darryl Brown, by and through undersigned counsel, and

respectfully submits his Court his response in opposition to the Motions in Limine filed by

Defendants Central of Georgia Railroad Company, Norfolk Southern Railway Company, and

Norfolk Southern Corporation (collectively referred to herein as “Defendants” or “Norfolk

Southern”):

                              Defendants’ Motion in Limine No. 1

       Plaintiff does not oppose Defendants’ Motion in Limine No. 1. Plaintiff’s counsel does

not intend to comment on the legislative history of anti-retaliation amendments to the Federal

Railroad Safety Act (“FRSA”), 49 U.S.C. § 20109, or the retaliatory culture in the railroad industry

that prompted Congress to enact the amendments. That said, Congress’s purpose in enacting the

FRSA’s anti-retaliation amendments was to prohibit railroads from taking adverse actions against

railroad employees based, in whole or in part, on their participation in activities that promote

railroad safety. This safety-driven purpose of the FRSA will be obvious at trial because Plaintiff



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alleges that one of his protected activities was his refusal to violated a federal railroad safety law.

Plaintiff’s counsel should not barred from mentioning that the FRSA’s anti-retaliation provisions

were enacted to promote railroad safety.

                               Defendants’ Motion in Limine No. 2

       Plaintiff opposes Defendants’ Motion in Limine No. 2, which seeks to prohibit “any

attempt to second-guess the discipline decisions of Norfolk Southern including but not limited to

asking the jury to determine if the decisions to remove Brown from service, charge them with rules

violations, hold an investigation hearing, and ultimately remove them from service were ‘wise,’

‘fair,’ ‘reasonable,’ etc.” Norfolk Southern claims any such evidence “second-guessing” its

disciplinary decisions in this case are inrelevant and, thus, inadmissible.

       This motion should be denied because it is the type of “[g]eneralized, vague, and overly

broad” motion in limine that this Court ordered the parties not to file in the Order Setting Pretrial

Conference. (Doc. 35, at p. 4.) As the Middle District of Georgia recently stated:

       Motions in limine that are broad, vague, and include speculative categories of
       evidence and argument of which the Court cannot predetermine the admissibility
       are due to be denied, as the real purpose of a motion in limine is to avoid the
       introduction of evidence at trial that is clearly inadmissible on all potential grounds'
       and could irretrievably impact the fairness of the trial.

Underwood v. Scarbrough, No. 7:21-cv-00040 (WLS), 2023 U.S. Dist. LEXIS 38107, at *12

(M.D. Ga. Mar. 7, 2023) (internal citations and quotations omitted).

       This motion should also be denied because it is seemingly an attempt to bar Plaintiff from

introducing at trial the evidence and testimony that defeated Defendants’ Motion for Summary

Judgment. For example, evidence tending to show an employer’s stated reason for an adverse

action is unworthy of credence is always relevant in employment discrimination cases. Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 147 (2000) (“Proof that the defendant’s



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explanation [of their decision] is unworthy of credence is . . . one form of circumstantial evidence

that is probative of intentional discrimination . . . .”). This permits Plaintiff to present evidence

demonstrating “weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions” in

Norfolk Southern’s stated non-discriminatory reasons for terminating him. Combs v. Plantation

Patterns, 106 F.3d 1519, 1538 (11th Cir. 1997) (quotation omitted). Evidence of this nature

inherently calls into question the wisdom and reasonableness of the employer’s decision but that

does not render the evidence irrelevant or inadmissible. Indeed, the Court cited a great deal of this

evidence in denying Defendants’ Motion for Summary Judgment.

       Finally, Norfolk Southern predicates the motion on a flawed legal premise. The “honest

belief” doctrine is not a defense to liability under the FRSA’s “contributing factor” causation

standard. The “honest belief” rule is a defense applicable to claims analyzed under the McDonnell-

Douglas burden-shifting framework, where the employee carries the ultimate burden of

demonstrating pretext. See Dawson v. Henry Cnty. Police Dep’t, 238 F. App’x 545, 549 (11th Cir.

2007) (“pretext inquiry focuses of the honesty of the employer’s explanation”); Main v. Ozark

Health, Inc., 959 F.3d 319, 325 (8th Cir. 2020) (“The ‘honest belief’ rule is really just an aspect

of the plaintiff’s burden at step three [of the McDonnell Douglas burden-shifting framework].”).

It is well-settled, however, that the FRSA’s relaxed “contributing factor” standard does not require

establishing pretext. The Eleventh Circuit has made this clear in the context of mixed-motive

claims, holding that a demonstration of pretext is not a prerequisite to liability under the more

demanding “motivating factor” causation standard. Quigg v. Thomas Cty. Sch. Dist., 814 F.3d

1227, 1240 (11th Cir. 2016) (explaining why the McDonnell Douglas framework and a

demonstration of pretext are “fatally inconsistent” with mixed motive claims); id. at 1240 (Mixed-

motive claims do not “suffer from McDonnell Douglas’s pitfall of demanding that employees



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prove pretext."); Fonte v. Lee Mem'l Health Sys., No. 20-13240, 2021 U.S. App. LEXIS 34256, at

*13 (11th Cir. Nov. 18, 2021) (“Pretext is not relevant to a mixed-motive claim.”).

       Because pretext is not required to satisfy the FRSA’s contributing factor standard, the

“honest belief” doctrine is not a defense to liability. See, e.g., Blackorby v. BNSF Ry. Co., 936 F.3d

733, 737 (8th Cir. 2019) (reversing defense verdict in FRSA retaliation case because the trial court

when it instructed the jury that “BNSF Railway cannot be held liable under the FRSA if you

conclude that BNSF Railway disciplined Plaintiff based on its honestly held belief that Plaintiff

engaged in misconduct or committed a rules violation”); see Frost v. BNSF Ry. Co., 914 F.3d

1189, 1197 (9th Cir. 2019) (holding that the district court’s “honest belief” instruction may have

“encouraged the jury to skirt the actual issue and improperly focus on whether discipline was

justified for Frost’s safety violation instead of whether his protected conduct ‘tend[ed] to affect in

any way’ the decision to terminate him.”); see also Morgan v. Norfolk S. Ry. Co., No. 2:13-cv-

0257-WMA, 2014 U.S. Dist. LEXIS 109610, at *13 (N.D. Ala. Aug. 8, 2014) (stating that

Eleventh Circuit’s “business judgment” rule is not a defense to causation under the “contributing

factor” standard).

       The Eleventh Circuit’s decision in Stone & Webster Construction., Inc. v. U.S. Department

of Labor, 684 F.3d 1127, 1130 (11th Cir. 2012), does not hold otherwise. In Stone & Webster, the

Eleventh Circuit reviewed a decision of the Administrative Review Board (“ARB”), which

reversed an Administrative Law Judge’s (“ALJ”) dismissal of a retaliation claim under the

whistleblower provisions of the Energy Reorganization Act (“ERA”). Id. at 1131-32. The ALJ

dismissed the claim because it found that the complainant did not establish the “contributing

factor” element of his prima facie case. The ARB reversed the ALJ’s decision on grounds that

there was substantial evidence of pretext. Id. In its pretext analysis, the ARB chose to apply



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Eleventh Circuit Title VII case law—not ERA case law. Id. at 1134-35. The Eleventh Circuit

held that the ARB erred in reversing the ALJ’s dismissal, first by applying an incorrect standard

of review and also by misapplying this Court’s Title VII case law on pretext. Id. at 1131-35. The

Eleventh Circuit explained that the ARB was under no obligation to apply Eleventh Circuit Title

VII case to its pretext analysis of the complainant’s ERA retaliation claim but that the ARB had

voluntarily chosen to do so. Id. at 1135. The Eleventh Circuit then said, “[i]f the Secretary cites

our precedent, we are obligated to review, and if necessary, correct, her application of our

precedent.” Id. at 1135. And that is what the Eleventh Circuit did. It did not, as Norfolk Southern

contends, hold that the “honest belief” doctrine precludes a finding of causation under the

contributing factor standard.

                                Defendants’ Motion in Limine No. 3

       Plaintiff opposes Defendants’ Motion in Limine No. 3. This motion seeks to prohibit

Plaintiff’s direct supervisor, Assistant Trainmaster Lamont Beard, from testifying “that he had

been told by Norfolk Southern to tell engineers not to start their locomotives more than 20 minutes

before departure, and that he told engineers this.” (Doc. 44 at p. 4-5.) Norfolk Southern makes

the perplexing argument that Beard’s testimony is irrelevant because, when Plaintiff was asked at

his disciplinary hearing why he did not inspect the locomotives sooner, Plaintiff did not state “that

his understanding of [Norfolk Southern’s] fuel conservation rule was based on an instruction from

Lamont Beard or any other supervisor.” (Id. at p. 5; see doc. 27 at p. 10.)

       Norfolk Southern’s argument is clearly misplaced. One of Norfolk Southern’s proffered

justifications for Plaintiff’s termination is that he violated Norfolk Southern’s omnibus rule

requiring that employees work efficiently by waiting to inspect his locomotives until the crew was

almost ready to depart. Beard’s testimony tends to show that Plaintiff’s proffered justification for



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disciplining Plaintiff is false and that Norfolk Southern manipulated a vague work rule to punish

an employee whose protected activity caused service problems. To be sure, this Court quoted

Beard’s testimony here in its Order denying Defendants’ Motion for Summary. (Doc. 30 at p. 14).

What Plaintiff did or did not say in response to an isolated question at his disciplinary hearing does

not negate the relevance of Beard’s testimony. See Fed. R. Evid. 401 (“Evidence is relevant if . .

. it has any tendency to make a fact [of consequence] more or less probable than it would be without

the evidence.”).

                              Defendants’ Motion in Limine No. 4

       Defendants’ Motion in Limine No. 4 is due to be denied for the same reasons. Here,

Defendants move to prohibit Plaintiff from testifying “that Jason Ault or any other supervisor was

aware of his claimed past practice of waiting to start his locomotive inspection until the conductor

was nearly ready to depart” on relevance grounds because Plaintiff did not offer this testimony at

his disciplinary hearing. As this Court recognized in denying Defendants’ Motion for Summary

Judgment, Plaintiff’s testimony that Jason Ault knew about and took no exception to Plaintiff’s

practice of waiting to inspect and crank before November 7, 2019, is unquestionably relevant.

(Doc. 30, at p. 14.) The fact that Ault first took exception to it hours after a customer complained

that Plaintiff’s compliance with the Hours of Service Act was causing delivery failures is probative

evidence that Plaintiff’s protected activity was a “contributing factor” to the adverse actions taken

against him. Singleton v. Norfolk S. Ry. Co., No. 1:19-CV-3133-TWT, 2023 U.S. Dist. LEXIS

18071, at *18-19 (N.D. Ga. Feb. 3, 2023) (noting that a railroad’s inconsistent application of its

policies is relevant circumstantial evidence of “contributing factor” causation).



                              Defendants’ Motion in Limine No. 5



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       Plaintiff opposes Defendants’ Motion in Limine No. 5. The motion seeks to prohibit

Plaintiff’s counsel from questioning witnesses on “the outcomes of previous investigation hearings

in which Carter Roberts had served as Hearing Officer” pursuant to Fed. R. Evid. 402 and 403.

Put another way, Norfolk Southern does not want the jury to hear that Carter Roberts almost always

finds the charged employee guilty. This evidence is probative to whether Roberts actually believed

Plaintiff was guilty of the disciplinary charges, especially when considered in conjunction with the

facts that the unrebutted testimony at Plaintiff’s disciplinary hearing was that he never received

Trainmaster Lockhart’s instruction from Lockhart himself or anyone else.

                              Defendants’ Motion in Limine No. 6

       Plaintiff opposes Defendants’ Motion in Limine No. 6, which seeks to preclude “[a]ny

reference to other FRSA cases, complaints, OSHA or Department of Labor decisions or verdicts”

pursuant to Fed. R. Evid. 402, 403, and 404(b)(1). Defendants specifically seek to stop Plaintiff’s

counsel from questioning Carter Roberts and other supervisors “whether, in light of a 2021 jury

verdict against Norfolk Southern in the case of Keevin Lowe v. Norfolk Southern Ry. Co. (from the

Southern District of Alabama), any discipline had been taken against any supervisor as a result.”

       Defendants’ Motion is due to be denied because the jury verdict in Lowe and Norfolk

Southern’s response to that jury verdict are relevant to punitive damages. Punitive damages are

available under the FRSA for violations that are intentional or done with a reckless or callous

disregard for an employee's FRSA rights. James v. CSX Transp. Inc., No. 4:15-cv-204 (CDL),

2017 U.S. Dist. LEXIS 143640, at *10-11 (M.D. Ga. Feb. 21, 2017). Under Title VII, an employer

can stave off punitive damages for its managers’ intentional or reckless Title VII violations if it

proves that it made “good faith efforts” to comply with the law:

       An employer may not be held liable for punitive damages because of discriminatory
       acts on the part of its managerial employees where the managerial employees’ acts

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       are contrary to the employer’s good faith efforts to comply with the law by
       implementing policies and programs designed to prevent unlawful discrimination
       in the workplace. However, the mere existence of policies prohibiting
       discrimination does not preclude punitive damages if the policies are
       ineffective.

Eleventh Circuit Pattern Jury Instructions § 4.5 (2022) (Title VII – Civil Rights Act –

Discrimination – Discharge or Failure to Promote – Including “Same Decision” Defense)

(emphasis added). Norfolk Southern asserts that the defense applies in FRSA retaliation cases,

and that its “good faith efforts” to comply with the FRSA shields it from an award of punitive

damages in this case, even if its managers disciplined Plaintiff in reckless or callous disregard of

his FRSA rights. (Doc. 6, at p. 19.)

       As noted above, however, the “good faith efforts” defense requires more than proof that

the employer implemented anti-retaliation policies. It requires that those policies be effective. To

be effective, they must be enforced. See Goldsmith v. Bagby Elevator Co., 513 F.3d 1261, 1270

(11th Cir. 2008) (upholding punitive award against employer in Title VII case because, inter alia,

the plaintiff presented evidence that the employer’s failure to enforce its anti-discrimination policy

rendered it ineffective); McInnis v. Fairfield Cmtys., Inc., 458 F.3d 1129, 1138 (10th Cir. 2006);

Zimmermann v. Assocs. First Capital Corp., 251 F.3d 376, 385 (2d Cir. 2001). Otherwise, “a

company could insulate itself from liability by adopting a policy that it has no intention to enforce,

thwarting the preventative purpose of the statute.” Neal v. Manpower Int'l, Inc., No. 3:00-cv-

277/LAC, 2001 U.S. Dist. LEXIS 25805, at *52 (N.D. Fla. Sep. 17, 2001).

       The jury verdict in Lowe and Norfolk Southern’s response (or lack of response) to the

verdict is relevant to whether Norfolk Southern’s anti-retaliation policies are enforced. In Lowe,

Norfolk Southern charged an Alabama Division conductor from Selma with “late reporting” and

false and conflicting statements immediately after he reported an on-duty injury. Carter Roberts



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served as the hearing officer at the plaintiff’s disciplinary hearing and made the termination

decision. A jury trial was held in November 2021, and Carter Roberts sat through (and testified

at) the trial as Norfolk Southern’s company representative. The jury returned a verdict in favor of

the plaintiff and awarded punitive damages in excess of the statutory maximum, finding that

Norfolk Southern managers terminated the plaintiff in Lowe in reckless or callous disregard of his

rights under the FRSA.

       How Norfolk Southern responded to this recent unanimous jury verdict that its Alabama

Division managers had recklessly and callously disregarded an employee’s FRSA rights is relevant

to the effectiveness of its anti-retaliation policies and its purported “good faith efforts” to comply

with the law.

                              Defendants’ Motion in Limine No. 7

       Plaintiff opposes Defendants’ Motion in Limine No. 7, which seeks to preclude “[a]ny

question of any Norfolk Southern supervisor as to whether he has ever heard of any Norfolk

Southern supervisor being punished for illegal retaliation.” Plaintiff submits that this motion

should be denied for the same reason as Norfolk Southern’s Motion in Limine No. 6.

                              Defendants’ Motion in Limine No. 8

       Plaintiff opposes Defendants’ Motion in Limine No. 8. Alabama Division Superintendent

Eric Peters, the Norfolk Southern manager who decided to remove Plaintiff from service and to

terminate Plaintiff after Carter Roberts found him guilty of the charge, issued the referenced

bulletin one day after Plaintiff’s disciplinary hearing. The bulletin is relevant to show that Peters

knew that Norfolk Southern had no rules at the time of the charge requiring engineers to report

non-operational delays to supervisors.




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                              Defendants’ Motion in Limine No. 9

       Plaintiff opposes Defendants’ Motion in Limine No. 9, which seeks to prohibit “[a]ny

discussion or opinions on the ‘pros and cons’ of the concept of ‘Precision Scheduling Railroading,’

(PSR), both in general and as implemented by Norfolk Southern” pursuant to Fed. R. Evid. 402

and 403. This motion should be denied because the evidence shows that Norfolk Southern’s

implementation of the PSR business model was the primary cause of the congestion that delayed

the A45 and prevented the crew from servicing EARY within the hours of service. Eric Peters

testified that PSR-related changes was also the reason for Norfolk Southern changing the A45’s

train plan to go to Norris Yard shortly before Plaintiff became its engineer. The congestion that

the A45 encountered at Norris Yard and elsewhere will be a major talking point at trial, and

Plaintiff should be entitled to inform the jury about the cause of the congestion.

                             Defendants’ Motion in Limine No. 10

       Plaintiff opposes Defendants’ Motion in Limine No. 10, which seeks to exclude “[a]ny

reference to compromise offers and negotiations between Norfolk Southern and Plaintiff and/or

his union representatives in 2020 concerning Plaintiff’s possible return to work” pursuant to Fed.

R. Evid. 408. Rule 408 provides that evidence of “furnishing, promising, or offering--or accepting,

promising to accept, or offering to accept--a valuable consideration in compromising or attempting

to compromise the claim” is not admissible “to prove or disprove the validity or amount of a

disputed claim.” Fed. R. Evid. 408. The Rule also states that “conduct or a statement made during

compromise negotiations about the claim,” is inadmissible. Id. In employment discrimination

lawsuits, offers of reinstatement that are not conditioned on the plaintiff modifying or abandoning

his or her claim are not “compromise offers” within the purview of Rule 408 and, thus, are not

barred by the rule. Knox v. Cessna Aircraft Co., Civil Action No. 4:05-CV-131(HL), 2007 U.S.



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Dist. LEXIS 71528, at *27 (M.D. Ga. Sep. 26, 2007). At the time Plaintiff was reinstated, his

retaliation claim was pending before the Occupational Safety and Health Administration

(“OSHA”). There has been no evidence presented that Norfolk Southern ever made an offer to

Plaintiff conditioning his reinstatement on releasing or otherwise modifying his claim.

Consequently, Norfolk Southern’s offers of reinstatement and any related negotiations are not

“compromise offers or negotiations” barred by Rule 408.

                           Defendants’ Motion in Limine No. 11

       Plaintiff does not oppose Defendants’ Motion in Limine No. 11

                           Defendants’ Motion in Limine No. 12

       Plaintiff does not oppose Defendants’ Motion in Limine No. 12.

                                           Respectfully submitted,

                                           BURGE & BURGE, P.C.

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                              CERTIFICATE OF SERVICE

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       I hereby certify that on this 12th day of October, 2022, I filed the foregoing with the Clerk
of Court using the CM/ECF System which will send electronic notification of such filing to the
following:

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                                      /s/ F. TUCKER BURGE, JR.
                                      F. TUCKER BURGE, JR.




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